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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA

                                    TRANSMITTAL SHEET
                                   (Notice of Appellate Action)

Date Notice filed: 4-25-2014

Style of Case: USA vs. Springer

Appellant: Lindsey Kent Springer

District Court No: 09-CR-43-SPF

Tenth Circuit Case No:

[ ] Amended NOA                               [ ] Cross Appeal

[ ] Interlocutory Appeal                      [ ] Successive Petition (2254 or 2255) (no fee)

Notice of appeal is enclosed to all parties (except to appellant in civil cases); Notice of Appeal,
docket entries and district court order are enclosed to 10th Circuit Court of Appeals:

District Court Judge: Stephen P. Friot, U.S. District Judge

                    APPEAL FILED BY PRO SE
                    Appeal Fee Paid                                         []
                    IFP Granted                                             []
                    Motion for IFP on Appeal Form Mailed/Given              [x]
                    Motion for IFP on Appeal Filed                          []
                    APPEAL FILED BY COUNSEL
                    Appeal Fee Paid                                         []
                    IFP Granted                                             []
                    Motion for IFP on Appeal Form Made Available            []
                    Motion for IFP on Appeal Filed                          []
                    Court Appointed Counsel (CJA/FPD)                       []
                    USA                                                     []


Signature of: S. Cope, Deputy Clerk           April 28, 2014                 Phone: (918) 699-4700



                                                                                            AP-01 (5/12)
